             Case 2:18-cr-20010-PKH Document 199                            Filed 02/21/19 Page 1 of 8 PageID #: 758
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                       Western District of Arkansas
                                                     )
              UNITED STATES OF AMERICA               )     JUDGMENT IN A CRIMINAL CASE
                         v.                          )
                                                     )
                                                     )     Case Number:         2:18CR20010-002
                TINA RENEE BRANSON                   )     USM Number:          15109-010
                                                     )
                                                     )     Barry D. Neal
                                                     )     Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s)      One (1) of the Indictment on August 8, 2018.

    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended              Count
21 U.S.C. §§ 841(a)(1)            Conspiracy to Distribute Methamphetamine                                 10/03/2017                  1
and 846




       The defendant is sentenced as provided in pages 2 through               7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

    The defendant has been found not guilty on count(s)

    Count(s) Three (3) and Four (4)                        is        are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        February 20, 2019
                                                                        Date of Imposition of Judgment


                                                                        /s/ P.K. Holmes, III
                                                                        Signature of Judge




                                                                        Honorable P.K. Holmes, III, United States District Judge
                                                                        Name and Title of Judge


                                                                        February 21, 2019
                                                                        Date
            Case 2:18-cr-20010-PKH Document 199                              Filed 02/21/19 Page 2 of 8 PageID #: 759
AO 245B (Rev. 02/18)   Judgment in Criminal Case
                       Sheet 2 — Imprisonment
                                                                                                    Judgment — Page      2       of   7
 DEFENDANT:                  TINA RENEE BRANSON
 CASE NUMBER:                2:18CR20010-002

                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
                   twenty-four (24) months.




         The court makes the following recommendations to the Bureau of Prisons:




         The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
             at                                     a.m.          p.m.       on                                              .
             as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             before 2 p.m. on                                            .
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                          to

 at                                                , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL




                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
            Case 2:18-cr-20010-PKH Document 199                          Filed 02/21/19 Page 3 of 8 PageID #: 760
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3      of        7
DEFENDANT:                 TINA RENEE BRANSON
CASE NUMBER:               2:18CR20010-002
                                                      SUPERVISED RELEASE

 Upon release from imprisonment, you will be on supervised release for a term of :       three (3) years.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
           Case 2:18-cr-20010-PKH Document 199                           Filed 02/21/19 Page 4 of 8 PageID #: 761
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                              Judgment—Page        4        of         7
DEFENDANT:                   TINA RENEE BRANSON
CASE NUMBER:                 2:18CR20010-002

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
      within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
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AO 245B(Rev. 02/18)   Judgment in a Criminal Case
                      Sheet 3D — Supervised Release
                                                                                          Judgment—Page    5     of       7
DEFENDANT:               TINA RENEE BRANSON
CASE NUMBER:             2:18CR20010-002

                                       SPECIAL CONDITIONS OF SUPERVISION

    1. The defendant shall submit to inpatient or outpatient substance abuse testing, evaluation, counseling, and/or treatment,
       as deemed necessary and as directed by the U.S. Probation Office.

    2. The defendant shall submit to a search of her person, real and/or personal property, residence, place of business or
       employment, and/or vehicle(s) conducted by the U.S. Probation Office based on reasonable suspicion of criminal
       activity or a violation of any condition of supervised release.
            Case 2:18-cr-20010-PKH Document 199                             Filed 02/21/19 Page 6 of 8 PageID #: 763
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                      Judgment — Page     6     of        7
 DEFENDANT:                 TINA RENEE BRANSON
 CASE NUMBER:               2:18CR20010-002
                                                CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                  JVTA Assessment*           Fine                          Restitution
 TOTALS           $ 100.00                     $ -0-                        $ -0-                         $ -0-


       The determination of restitution is deferred             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
 until after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

 Name of Payee                               Total Loss**                    Restitution Ordered                        Priority or Percentage




 TOTALS                              $                                  $

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for             fine         restitution.
            the
            the interest requirement for           fine         restitution is modified as follows:
            the
 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
    or after September 13, 1994, but before April 23, 1996.
            Case 2:18-cr-20010-PKH Document 199                                Filed 02/21/19 Page 7 of 8 PageID #: 764
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments
                                                                                                             Judgment — Page        7      of           7
 DEFENDANT:                TINA RENEE BRANSON
 CASE NUMBER:              2:18CR20010-002

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $ 100.00                        due immediately.

                not later than                           , or
                in accordance with     C         D,       E, or                     F below; or
                                       ,
 B         Payment to begin immediately (may be combined with                  C,           D, or         F below); or

 C         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
Case 2:18-cr-20010-PKH Document 199   Filed 02/21/19 Page 8 of 8 PageID #: 765
